         Case 2:25-cv-00241-BHS              Document 52     Filed 02/26/25    Page 1 of 5




 1                                                             The Honorable Benjamin H. Settle
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   COMMANDER EMILY SHILLING; et                          No. 2:25-cv-00241-BHS
10   al.,

11                             Plaintiffs,                 UNOPPOSED MOTION FOR
                                                           LEAVE TO FILE BRIEF OF
12          v.                                             AMICI CURIAE BY THE STATES
                                                           OF WASHINGTON, VERMONT,
13                                                         ARIZONA, CALIFORNIA,
14   DONALD J TRUMP, in his official                       COLORADO, CONNECTICUT,
     capacity as President of the United States;           DELAWARE, HAWAII,
15   et al.,                                               ILLINOIS, MAINE, MARYLAND,
                                                           MASSACHUSETTS, MICHIGAN,
16                             Defendants.                 MINNESOTA, NEVADA, NEW
                                                           JERSEY, NEW YORK, NORTH
17                                                         CAROLINA, OREGON, RHODE
18                                                         ISLAND, AND WISCONSIN IN
                                                           SUPPORT OF PLAINTIFFS’
19                                                         MOTION FOR A PRELIMINARY
                                                           INJUNCTION
20
                                                           NOTE ON MOTION CALENDAR:
21
                                                           February 26, 2025
22

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      UNOPPOSED MOTION FOR LEAVE                                    ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
      TO FILE BRIEF OF AMICI STATES IN                                   800 Fifth Avenue, Suite 2000
      SUPPORT OF PLAINTIFFS’ MOTION                                           Seattle, WA 98104
      FOR A PRELIMINARY INJUNCTION                                              (206) 464-7744
      No. 2:25-cv-00241-BHS
          Case 2:25-cv-00241-BHS              Document 52       Filed 02/26/25      Page 2 of 5




 1                                      I.         INTRODUCTION
 2          The States of Washington, Vermont, Arizona, California, Colorado, Connecticut,

 3   Delaware, Hawaii, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada,

 4   New Jersey, New York, North Carolina, Oregon, Rhode Island, and Wisconsin (“Amici States”)

 5   respectfully request leave to file a brief as amici curiae in the above-captioned action in support

 6   of Plaintiffs’ pending Motion for Preliminary Injunction. A copy of the proposed brief is attached

 7   to this Motion. Amici States are moving for leave to file their brief seven days after Plaintiffs

 8   filed their Motion for Preliminary Injunction, which will not interfere with the Court’s briefing

 9   schedule. Counsel for Amici States has conferred with the parties’ counsel, and both Plaintiffs

10   and Defendants consent to the filing of the brief.

11                                           II.    ARGUMENT
12          Plaintiffs seek a preliminary injunction that enjoins Defendants from enforcing Executive

13   Order 14,183 (“Prioritizing Military Excellence and Readiness”), which bars transgender

14   Americans from serving in the military, “as to Plaintiffs and other current and aspiring

15   transgender servicemembers.” Dkt. # 23 at p. 10. Amici States seek leave to file a brief

16   highlighting the importance of the National Guard to the States’ security and disaster

17   preparedness, as well as Amici States’ positive experience allowing transgender people to

18   participate fully in society, including in the National Guard.

19          While no rule specifically addresses amicus participation, district courts have broad

20   discretion to grant leave to participate as amicus curiae. Hoptowit v. Ray, 682 F.2d 1237, 1260

21   (9th Cir. 1982). This discretion is liberally applied when the legal issues in a case “have potential

22   ramifications beyond the parties directly involved.” NGV Gaming, Ltd. v. Upstream Point

23   Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005). “An amicus brief should normally

24   be allowed when . . . the amicus has unique information or perspective that can help the court

25   beyond the help that the lawyers for the parties are able to provide.” Cmty. Ass’n for Restoration

26   of the Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash. 1999) (citing
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 1   Miller-Wohl Co., Inc. v. Comm’r of Labor & Indus. State of Mont., 694 F.2d 203, 204
 2   (9th Cir. 1982)); Int’l Partners for Ethical Care Inc. v. Inslee, No. 3:23-CV-05736-DGE, 2024
 3   WL 416859, at *1 (W.D. Wash. Feb. 5, 2024).
 4          Amici States have unique information and perspectives that will assist the Court in
 5   evaluating Plaintiffs’ Motion for Preliminary Injunction. Amici States share control of the
 6   National Guard with the federal government. U.S. Const. art. I, § 8, cl. 15-16; 10 U.S.C. § 12401;
 7   32 U.S.C. § 314. The National Guards of Amici States respond to natural disasters and assist
 8   Amici States with cybersecurity during elections, among other functions. Excluding transgender
 9   people from National Guard service will affect retention and recruitment efforts as well as
10   readiness. And Amici States have enacted statutes barring discrimination based on gender
11   identity in areas such as education, employment, public accommodations, and housing. E.g.,
12   Wash. Rev. Code. §§ 28A.642.010, 49.60.030; Vt. Stat. Ann. tit. 9, §§ 4502, 4503; id. tit. 21
13   § 495. Amici States have a strong interest in enforcing their civil legal codes and ensuring
14   National Guard readiness. Amici States submit that their perspectives will assist the Court in
15   assessing Defendants’ attempt to bar transgender people from serving in the military.
16                                       III.     TIMELINESS
17          Amici States seek leave to file their brief one week after Plaintiffs filed their Motion for
18   Preliminary Injunction. While the Federal Rules of Civil Procedure and the local rules do not
19   specify timeliness for amicus briefs, the Federal Rules of Appellate Procedure require filing
20   within seven days after the principal brief of the party being supported. Fed. R. App. P. 29(a)(6).
21   Other judges in this District have cited that timeline with approval. See, e.g., Wagafe v. Biden,
22   No. 17-cv-00094-LK, 2022 WL 457983, at *2 (W.D. Wash. Feb. 15, 2022); Skokomish Indian
23   Tribe v. Goldmark, No. C13-5071JLR, 2013 WL 5720053, at *2 (W.D. Wash. Oct. 21, 2013).
24   Amici States are filing consistent with this persuasive authority.
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 1                                      IV.     CONCLUSION
 2          The Court should grant Amici States leave to file the amici curiae brief that accompanies
 3   this Motion.
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 5          DATED this 26th day of February, 2025.
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 7                                                Respectfully submitted,

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                                                  NICHOLAS W. BROWN
 9                                                Attorney General of Washington
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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that the foregoing document was electronically filed with the United
 3   States District Court using the CM/ECF system. I further certify that all participants in the case
 4   are registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 5
            DATED this 26th day of February, 2025.
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                                                   LOGAN YOUNG
 9                                                 Paralegal
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